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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION
______________________________________
                                           :
Jeffrey Stine,                             :
                                           : Civil Action No.: 1:11-cv-00153-RDB
                                           :
                     Plaintiff,            :
        v.                                 :
                                           :
Mitchell D. Bluhm & Associates, LLC; and   :
DOES 1-10, inclusive,                      :
                                           :
                     Defendant.            :
______________________________________ :
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against Mitchell D. Bluhm & Associates, LLC and DOES 1-10 with

prejudice and without costs to any party.

 Jeffrey Stine                                 Mitchell D. Bluhm & Associates, LLC and
                                               DOES 1-10
 ___/s/ Forrest E. Mays__________              __/s/ Erin O Brien Millar _______

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 Attorney for Plaintiff

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SO ORDERED
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2011, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
Maryland Electronic Document Filing System (ECF) and that the document is available on the
ECF system.
                                              By_/s/ Forrest E. Mays_________
                                                     Forrest E. Mays
